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 1
      Nicholas J. Bontrager, Esq. (SBN 252114)
 2    Krohn & Moss, Ltd.
      10474 Santa Monica Blvd., Suite 401
 3    Los Angeles, CA 90025
 4    T: (323) 988-2400; F: (866) 802-0021
      nbontrager@consumerlawcenter.com
 5

 6    Attorneys for Plaintiffs, Sandra M. Munoz and Henry T. Munoz

 7    Debbie P. Kirkpatrick, Esq. (SBN 207112)
 8
      Sondra R. Levine, Esq. (SBN 254139)
      SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
 9    1545 Hotel Circle South, Ste 150
10
      San Diego, CA 92108-3426
      Tel: 619/758-1891
11    Fax: 619/296-2013
12
      dpk@sessions-law.biz
      slevine@sessions-law.biz
13
      Attorneys for Defendant NCO Financial Systems, Inc.
14

15                             UNITED STATES DISTRICT COURT
16
                              CENTRAL DISTRICT OF CALIFORNIA
17
                                           EASTERN DIVISION
18

19    Sandra M. Munoz and Henry T. Munoz,                )   Case No. CV-10-07835-GHK (FFMx)
                                                         )
20
                           Plaintiff,                    )   JOINT STIPULATION AND MOTION
21                                                       )   TO DISMISS ENTIRE ACTION WITH
             vs.                                         )   PREJUDICE
22
                                                         )
23    NCO Financial Systems, Inc.,                       )
                                                         )
24
                           Defendant.                    )
25                                                       )
26
             Plaintiffs Sandra M. Munoz and Henry T. Munoz and Defendant NCO Financial
27

28    Systems, Inc., through their designated counsel of record, hereby stipulate and agree that


                             Joint Stipulation and Motion to Dismiss Action With Prejudice
                                                            1
     Case 2:10-cv-07835-GHK-FFM Document 16 Filed 07/06/11 Page 2 of 2 Page ID #:57



 1
      the above-captioned action be dismissed with prejudice pursuant to FRCP 41(a)(1), and
 2
      jointly move this court for an order of dismissal with prejudice.
 3

 4           This stipulation and joint motion for dismissal with prejudice is based on the fact

 5    that the parties have resolved this action in its entirety. As part of said resolution, the
 6
      parties agree to dismiss this action, in its entirety, with prejudice. The parties request that
 7

 8
      the court retain jurisdiction for purposes of enforcement of the settlement.

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                                              Respectfully submitted,
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12
      Dated: July 6, 2011                     SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.

13
                                              /s/Sondra R. Levine
14                                            Sondra R. Levine
                                              Attorney for Defendant NCO Financial Systems, Inc.
15

16
      Dated: July 6, 2011                     KROHN & MOSS, LTD
17

18
                                              /s/Nicholas J. Bontrager
19                                            Nicholas J. Bontrager
                                              Attorney for Plaintiffs Sandra and Henry Munoz
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                              Joint Stipulation and Motion to Dismiss Action With Prejudice
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